                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )         COLLIER/CARTER
                                              )
        v.                                    )         CASE NO. 1:12-CR-104
                                              )
 JEROME ARNOLD SHERARD                        )



                                            ORDER

        On March 11, 2015, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Counts 1 and

 11 of the Second Superseding Indictment in exchange for the undertakings made by the

 government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges

 set forth in Counts 1 and 11 of the Second Superseding Indictment; (c) that a decision on whether

 to accept the plea agreement be deferred until sentencing; and (d) Defendant shall be taken into

 custody pending sentencing in this matter (Court File No. 565). Neither party filed an objection

 within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

 judge=s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as

 follows:

        (1) Defendant’s plea of guilty to Counts 1 and 11 of the Second Superseding Indictment, in

 exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts 1 and 11 of

 the Second Superseding Indictment;




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       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

       (4) Defendant SHALL BE TAKEN INTO CUSTODY pending sentencing on

 Thursday, April 23, 2015, at 9:00 am.

       SO ORDERED.

       ENTER:

                                          /s/
                                          CURTIS L. COLLIER
                                          UNITED STATES DISTRICT JUDGE




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